Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 1 of 21 PageID# 3797



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division



 DAVID A.     WHEELER,


                           Petitioner,

                                                                            Civil No.:      2:14cv29
                                                                    Criminal No.:           2:llcr36
 UNITED      STATES OF AMERICA,


                           Respondent.




                                       OPINION AND ORDER


           This   matter        is    before    the       Court        on    David    A.     Wheeler's


  ("Petitioner")          Motion to Vacate,             Set Aside,          or Correct Sentence,

  filed     pursuant       to    28    U.S.C.       §    2255.         ECF Nos.        303     & 304.1

  Petitioner's         § 2255         motion        and     associated            filings       allege

  prosecutorial misconduct and allege that trial counsel provided

  constitutionally ineffective assistance.                              Having considered the

  briefs and record,             the Court finds that an evidentiary hearing

  is unnecessary because the record conclusively demonstrates that

  Petitioner is not entitled to the relief he seeks.                                       See R.     Gov.

  § 2255 Proc.      in U.S.          Dist.   Cts.       8(a).      For the reasons set forth

  below,     Petitioner's §           2255 motion is DENIED.




  1 Petitioner filed a two page "placeholder" § 2255 motion approximately
  two-and-a-half months prior to filing his formal § 2255 motion.                               As both
  Petitioner's     placeholder motion           and      formal    §    2255    motion were         timely
  filed,    the   Court    previously        construed      them    together,        and    ordered    the
  Government to file a joint response.                  ECF No.    305.
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 2 of 21 PageID# 3798



                   I. FACTUAL AND PROCEDURAL BACKGROUND

       Petitioner and multiple co-conspirators were named in a

 thirty-count superseding indictment charging a drug trafficking
 conspiracy.       ECF No.           92.      On September 14,                  2011,    at    the
  conclusion of a criminal                 jury trial,          the    jury returned           its

  verdict     finding    Petitioner          guilty        of    four     criminal        felony

  counts, to include a cocaine trafficking conspiracy involving "5

  kilograms or more" of cocaine.                    ECF No.       170.      On January 31,

  2012,    Petitioner was       sentenced to two                hundred sixty-two             (262)

  months of imprisonment.

          Petitioner    subsequently         appealed       his       conviction,       and     the

  United States Court of             Appeals       for the Fourth Circuit affirmed

  Petitioner's    conviction by unpublished opinion.                            United    States

  v.   Fuller,     498    F.    App'x       330     (4th    Cir.       2012) .      Petitioner

  thereafter timely filed the instant § 2255 motion,                             which is now

  fully briefed and ripe for review.

                               II.    STANDARD OF REVIEW


          A federal prisoner, in custody, may collaterally attack his

  sentence or conviction by moving the district court "to vacate,

  set aside or correct the             sentence."          28 U.S.C.        § 2255(a).           To

  obtain such relief,          a petitioner bears                the burden of proving

  that his sentence or conviction was "imposed in violation of the

  Constitution or       laws   of     the    United States,"             that    the    district

  court    "was without    jurisdiction to impose such sentence,"                             that

                                               2
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 3 of 21 PageID# 3799



 the sentence exceeds "the maximum authorized by law," or that
 the sentence or conviction is "otherwise subject to collateral
 attack."        Id^     A petitioner must prove the asserted grounds for
 relief by a preponderance of the evidence.                                      Miller v. United
 States, 261 F.2d 546, 547 (4th Cir. 1958).                                      Because a § 2255
 motion "is ordinarily presented to the judge who presided at the

 original        conviction            and       sentencing            .     .       .      the     judge's
  recollection of the events at issue" may inform the resolution

  of    the    motion.        Blackledge              v.    Allison,       431       U.S.    63,    74     n.4

  (1977).

          A § 2255 motion is,              in essence,          a statutory federal habeas

  corpus action that collaterally attacks a sentence or conviction

  through      the     filing of       a new proceeding,                   as    contrasted with a

  direct appeal.             United States v. Hadden,                  475 F.3d 652,               663   (4th

  Cir.    2007).        The   existence of the right to pursue a collateral

  attack       does    not    displace           a    direct    appeal          as    the     "usual       and

  customary method of correcting trial errors."                                      United States v.

  Allgood,      48 F. Supp. 2d 554,                  558 (E.D. Va.         1999).

          Although a petitioner advancing new claims asserted for the

  first       time     in     a   §     2255          motion    must        generally             "clear     a

  significantly higher hurdle than would exist on direct appeal"

  United States v. Frady, 456 U.S. 152, 166 (1981), a freestanding

  claim of ineffective assistance of counsel is properly asserted

  for    the    first    time     in   a     §       2255   motion.        See       United       States    v.
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 4 of 21 PageID# 3800



 King, 119 F.3d 290, 295 (4th Cir. 1997) ("[I]t is well settled
 that 'a claim of ineffective assistance should be raised in a 28
 U.S.C. § 2255 motion in the district court rather than on direct
 appeal,        unless           the        record      conclusively                shows        ineffective
 assistance.'" (quoting United States v. Williams, 977 F.2d 866,
 871     (4th Cir.          1992))).              Such rule exists because the Federal

 Rules      Governing            § 2255           Proceedings         permit        expansion of               the

  record,       which is generally unavailable                                 on direct appeal                and

  often necessary to properly resolve an ineffective assistance

  claim.        United States v.                  Baptiste,         596    F.3d     214,        216   n.l     (4th

  Cir.    2010)       (citing Massaro v. United States,                             538 U.S.          500,    504-

  06,    (2003)).

         The      Sixth      Amendment             to   the        Constitution            of     the    United


  States provides that "the accused shall enjoy the right ... to

  have    the     Assistance           of    Counsel         for    his    defence."             U.S.    Const,

  amend.     VI.           The    Supreme          Court      has    interpreted            the       right     to

  counsel       as    providing         a     defendant        "'the       right      to    the       effective

  assistance          of    counsel.'"              Strickland            v.    Washington,           466     U.S.

  668, 686 (1984)            (quoting McMann v. Richardson,                           397 U.S. 759, 771

  n.14     (1970))         (emphasis         added).          To    obtain        relief         based       on an

  allegation           of        ineffective            assistance,             a     petitioner              must

  establish          both    that:          (1)    counsel's        performance            fell       below an

  objective           standard          of        reasonableness;               and        (2)        counsel's

  inadequate performance caused the petitioner prejudice.                                                Id. at

                                                         4
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 5 of 21 PageID# 3801



 687-88.      "[Unsubstantiated and largely conclusory statements"

 are insufficient to carry a petitioner's burden as to the two

 prongs of the Strickland test.                     United States v. Turcotte, 405
 F.3d 515, 537 (7th Cir. 2005).

        When evaluating counsel's performance under the first prong

  of Strickland, courts "must be highly deferential."                              Strickland,

  466 U.S. at 689; see Kimmelman v. Morrison, 477 U.S. 365, 381-82

  (1986)    (discussing the "highly demanding" Strickland standard).

  To      establish        constitutionally           deficient            performance,        a

  petitioner       must    demonstrate       that     his     lawyer       "made     errors   so

  serious     that    counsel       was     not     functioning        as     the     'counsel'

  guaranteed ... by the Sixth Amendment."                           Strickland,       466 U.S.

  at   687.        Such    a    showing     must     go     beyond        establishing       that

  counsel's     performance          was     below        average,        since      "effective

  representation is not synonymous with errorless representation."

  Springer    v.     Collins,      586     F.2d   329,      332    (4th     Cir.    1978);    see

  Strickland, 466 U.S. at 687.                As it is all too easy to challenge

  an act, omission,            or strategy,       once it has proven unsuccessful,

  "every effort [must] be made to eliminate the distorting effects

  of   hindsight."         Strickland,        466    U.S.     at   689.       Courts     should

  therefore    "indulge a strong presumption that counsel's conduct

  falls     within        the     wide     range      of     reasonable            professional

  assistance."       Id.
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 6 of 21 PageID# 3802



        The second prong of Strickland requires a petitioner to
 "affirmatively prove prejudice," which requires a showing that
  "there    is a    reasonable       probability         that,    but    for counsel's

 unprofessional errors, the result of the proceeding would have
 been different."        Strickland, 466 U.S. at 693-94.                  "A reasonable

 probability is a probability sufficient to undermine confidence

  in the outcome."       Id. at 694.         If the petitioner fails to prove

  either of the two prongs of the Strickland test,                       the Court need

  not   evaluate   the   other prong        of    the    test.     United    States    v.

  Roane,    378 F.3d 382,     404   (4th Cir.     2004).

                                    III.   DISCUSSION


        Petitioner's     § 2255      motion and         associated filings        allege:

  (1)   the prosecutor committed misconduct by permitting multiple

  witnesses to perjure themselves on the                  stand;   (2)    trial counsel

  provided constitutionally ineffective assistance                       by failing to

  challenge    such prosecutorial          misconduct;      and    (3)   trial    counsel

  provided constitutionally ineffective assistance by failing to

  challenge the criminal charges and/or pursue a mistrial.                        As set

  forth below,     all three of Petitioner's claims are DENIED on the

  merits.


                         A.    Prosecutorial Misconduct

        Petitioner    first     claims     that    the     Assistant     United    States

 Attorney that prosecuted the instant case engaged in misconduct

 by suborning the perjury of multiple witnesses.                         Petitioner's §

                                             6
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 7 of 21 PageID# 3803



 2255 motion focuses on the perjury allegedly committed by trial
 witness Clive Black, whereas his reply brief focuses primarily
 on the perjury allegedly committed by trial witness Andre Todd.
        As explained by the Fourth Circuit:
        A  conviction acquired through the knowing use of
        perjured testimony by the prosecution violates due
        process.   See Napue v. Illinois, 360 U.S. 264, 269
        (1959).          This       is    true    regardless           of    whether       the
        prosecution solicited testimony it knew to be false or
        simply allowed such testimony to pass uncorrected.
        See Giglio v. United States, 405 U.S. 150, 153 (1972);
        Napue, 360 U.S. at 269.  The knowing use of perjured
        testimony constitutes a  due process violation when
        "'there is any reasonable likelihood that the false
        testimony could have affected the judgment of the
        jury.'" Kyles v. Whitley, 514 U.S. 419, 433-34 (1995)
        (quoting        United       States      v.    Agurs,     427       U.S.    97,     103
        (1976)).

  United    States      v.    White,      238    F.3d   537,      540-41      (4th Cir.         2001).

  Having considered the arguments advanced in Petitioner's initial

  motion,    and     the      arguments         advanced     in       his    reply       brief,      the

  latter of      which       the    Government        has   not    had      the    opportunity        to

  respond to,      the Court finds that Petitioner fails to demonstrate

  that the prosecutor engaged in misconduct.

        First,     as    to    Petitioner's           allegation         that      the    Government

  knew that Clive Black testified falsely,                         Petitioner asserts that

  the   trial     record       proves      that       investigating          agents       saw     Clive

  Black in Virginia Beach,                Virginia in the morning,                 the afternoon,

  and the early evening on February 24,                          2009,      but    that Mr.       Black

  stated    under       oath       that   he    picked      up    a    co-conspirator           at    an
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 8 of 21 PageID# 3804



 airport in Washington D.C. on that same day.                                   Petitioner's
 argument, however,            is merely an identification of potentially
 conflicting trial evidence properly left for the factfinder to

 resolve.     Notably, Petitioner's § 2255 motion does not point to

 any evidence in the trial record demonstrating what time of day

 Mr.     Black was   purportedly at                the    Washington     airport,       and     it

 appears that there would be no "conflict" in the evidence if he

 were    there   around        10    p.m.    that    night.         Similarly,    Petitioner

 does    not point    to any physical evidence demonstrating that                              the

  night that Mr.     Black and others were in Washington,                        D.C. was in

  fact    February    24,       2009,        as    opposed    to     February     23,     2009.

 Accordingly,      the mere           existence      of   potential     conflicts       in the

  evidence   falls       far   short        of    demonstrating      that    the Government

  knew that Mr.      Black's           testimony about         a    Washington D.C.           drug

  transaction      was      "false"         such     that     the     Government        had     an

 obligation not to introduce such testimony.2

         Second, as to the allegation of false testimony provided by

 Andre Todd,     Petitioner again relies on an apparent "conflict" in

   Although more relevant to Petitioner's second claim,                     it should be noted
 that the jury was not left with the unchallenged testimony presented by
 Mr. Black regarding drug activities in Washington D.C. on February 24,
 2009.   Rather, Petitioner's counsel called two investigating agents as
 witnesses to establish Mr. Black's presence in Virginia Beach on February
 24, 2009, in an effort to undercut Mr. Black's credibility regarding his
 and Petitioner's involvement in drug trafficking in Washington D.C. on
 that same date.     The fact that the jury convicted Petitioner on Count 24,
 which is grounded in Mr. Black's testimony about the trip to Washington,
 suggests that the jury,            like the Government,      did not believe that it was
 "impossible" for Mr. Black to have been in Washington D.C. "on or about"
 February 24, 2009, as charged in Count 24 of the Superseding Indictment.
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 9 of 21 PageID# 3805



 the trial evidence.             Specifically,          Mr.    Todd was incarcerated
 during the summer of 2008, yet his trial testimony can be
 interpreted as indicating that he had firsthand knowledge about
 events that occurred during that same summer at a storage unit
  and at a house that was used as a "stash-house" by members of

  the conspiracy.       Similar to the above analysis as to Mr. Black's
  testimony,    Petitioner        fails        to     specifically      highlight       any

  evidence demonstrating that the Government knew that Mr. Todd's

  testimony was false.           A review of the transcript of Mr. Todd's

  direct and cross-examination indicates that he at times spoke of

  information     of    which    he    was    "aware"      without     stating   that    he

  personally witnessed such events.                   Notably,      a witness does      not

  commit perjury merely because his testimony is based on hearsay.

  Additionally,       on cross-exam,         when confronted with the fact that

  Mr. Todd was incarcerated when a "raid" occurred on the storage

  unit and when a shipment of 1,700 pounds of marijuana had come

  into the Hampton Roads area from Texas,                     Mr.   Todd testified that

  "[t]he time frames may be different" but that he had "knowledge

  of 1,500 pounds of marihuana3 being in the [stash] house" because

  he   temporarily     "lived in that          house"      and he    "actually saw the

  marihuana." Trial Tr.         55 9, ECF No.       204.




  3 Although    the    Court    uses    the    term     "marijuana,"    the   Court     also
  recognizes "marihuana" as an acceptable spelling.
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 10 of 21 PageID# 3806



         Based on a review of the transcript,                                 there are multiple

  possible interpretations of Mr. Todd's testimony, because while
  one could interpret it as including false statements about drug

  activity that Mr. Todd never witnessed, one could also interpret

  the testimony as Mr. Todd being imprecise with the phrasing of

  his answers,       or Mr.       Todd having some difficulty distinguishing

  which    events    he     knew       from     first-hand         knowledge          and    which     he

  learned of only through hearsay.                          What is clear,              is that Mr.

  Todd     testified       that    he    recalled           personally          witnessing         1,500

  pounds    of    marijuana       at    the     stash house             after    he    was    released

  from    incarceration.             Petitioner's           contention          that        the   record


  proves that Mr.          Todd was      lying on the stand leaves no room for

  the     possibility        that:       (1)        Mr.     Todd        was     mistakenly         over

  estimating        the     quantity           of    marijuana           that     he        personally

  witnessed at       the     stash-house            after    his    release;          (2)    there     was

  still    a     quantity    of    marijuana             close     to    1,500    pounds          in   the

  stash-house at       the    time Mr.         Todd was      released from incarceration


  since approximately 200 pounds were seized by authorities during

  the    raid of    the     storage unit            in    late     July 2008          and the       trial

  record       indicates     that       all     conspirators             were     having          trouble

  selling the marijuana because the quality was so poor, Trial Tr.

  277-78, ECF No. 203; or (3)                  the large-scale drug conspiracy also

  involved a second large marijuana shipment that occurred after

  Mr.    Todd was     no    longer      incarcerated.               Even assuming             that     the

                                                    10
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 11 of 21 PageID# 3807



  Government was unclear about whether Mr. Todd saw the remains of

  the first marijuana shipment, or whether a second large shipment
  occurred      without       the     Government's       knowledge,          such    lack    of

  clarity is a far cry from the Government knowing that Mr. Todd

  was   providing       false       testimony.        Because       Petitioner       fails    to

  demonstrate       that   Mr.       Todd    testified     falsely      and/or       that    the

  Government     knew      that      such    testimony     was      false,    he     fails    to

  demonstrate prosecutorial misconduct.4

        For   the     reasons       set    forth above,    Petitioner's         first    claim

  is DENIED.5




  4 Additionally, even if the Court assumed that the Government had
  knowledge that Mr. Todd testified falsely about the 1,500 pounds of
  marijuana, Petitioner does not appear to demonstrate that there is "any
  reasonable likelihood"      that such false testimony could have affected the
  jury's   verdict.      White, 238 F.3d at 540-41. Numerous other witnesses
  testified about Petitioner's involvement in the drug conspiracy as a whole
  as well as his     specific involvement in    the  1,700 pound marijuana
  transaction    that   was    focused      on   extensively   at   trial.     Moreover,     the
  Government introduced photographic evidence in support of their case
  against Petitioner, including photographs and testimony linking Petitioner
  to vehicles that had secret compartments operated by hydraulics that were
  used to transport drugs or large sums of cash.

  5 The Court    also notes,         for   the record,    that Petitioner's         first claim
  appears to be procedurally defaulted pursuant to the rule set forth in
  Frady,  456 U.S.   at 167-68,  as it was not raised on direct appeal.
  Petitioner's motion and associated filings do not appear to demonstrate
  "cause" excusing the failure to directly appeal this issue or "'actual
  prejudice'  resulting from the errors of which he complains."          Id.
  However, because the Government has not raised procedural default, the
  Court does not squarely reach such issue herein.   Cf. Yeatts v. Angelone,
  166 F.3d 255, 261-62 (4th Cir. 1999) (discussing, in the context of a
  § 2254 motion, the court's authority to raise procedural default sua
  sponte, indicating that doing so may not be appropriate without giving the
  petitioner "a reasonable opportunity to present briefing and argument
  opposing dismissal") (internal quotation marks and citations omitted).

                                                 11
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 12 of 21 PageID# 3808




           B.       Ineffective Assistance - Prosecutorial Misconduct

          Petitioner's second claim is similar to his first,                                    although

  in    his     second          claim    Petitioner       asserts         that     his       counsel   was

  ineffective for failing to move to strike the testimony of Mr.

  Black       and/or       Mr.     Todd     due    to     the    fact       that       the    Government

  purportedly             suborned       perjury.         Adopting          the    analysis       above,

  first,      the Court finds that Petitioner fails to demonstrate that

  the      Government             knowingly        introduced             false        testimony,       or

  knowingly permitted false testimony to stand, because Petitioner

  fails       to     demonstrate          that     Mr.    Black        or    Mr.       Todd    committed

  perjury.                Accordingly,            Petitioner           fails       to        demonstrate

  constitutionally deficient performance or resulting prejudice as

  a result of counsel's failure to move to strike such testimony.

  Strickland,            466 U.S.       at 689,    693-94;      see Moody v.           Polk,    408 F.3d

  141,        151        (4th    Cir.     2005)      (finding          that       counsel       was    not

  constitutionally deficient for failing to file a motion that was

  not likely to succeed).

          Second,           even        assuming     that        the        Government         knowingly

  introduced false testimony,                     Petitioner fails to demonstrate that

  his counsel provided constitutionally deficient performance as a

  result        of       his     failure     to     move        to     strike      such        testimony.

  Notably,          as     Petitioner       acknowledges             in     his    §    2255     filings,

  Petitioner's trial counsel did not permit the testimony at issue

  to     go     unchallenged,             but      instead,          focused       his       defense    on

                                                     12
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 13 of 21 PageID# 3809




  undercutting the credibility of both Mr.                                     Todd and Mr.             Black

  based on the purported timeline                             issues.6           As    to Mr.          Black,

  Petitioner's            counsel           called         two      investigating            agents          as

  witnesses in an effort to establish that,                                on February 24,              2009,

  Mr. Black was in Virginia Beach, not Washington, D.C.                                          Trial Tr.

  1089-92,         ECF    No.       2 06.          Counsel     then       relied      on    the     alleged

  discrepancy in the timeline both to seek dismissal of Count 24

  and to argue before the jury that Mr. Black was                                        lying.         As    to

  Mr.    Todd,        Petitioner's           counsel         focused       a    large      part     of       his

  cross-examination              on    undercutting           Mr.     Todd's      credibility           based

  on    the        fact   that,        during        his     direct       examination,            Mr.    Todd

  purportedly gave a "firsthand account"                              of matters that occurred

  while       he    was   incarcerated.                Trial        Tr.    556-60,         ECF    No.     204.

  Later,       during         closing        arguments,          Petitioner's            counsel         again

  sought to discredit Mr.                    Todd by focusing on the asserted issues

  with Mr.         Todd's timeline.                Trial Tr.     123 9-4 0, ECF No.          207.

          Considering           the    options        available       to       counsel     at    the     time,

  it was plainly a sound strategic decision for defense counsel to

  opt    to    leverage         the     allegedly          false      testimony       as     a    means       to

  argue to the jury that Mr. Black and Mr. Todd lacked credibility

  as    witnesses.            Id.     at    1236-40.         Moreover,          Petitioner        fails       to



  6 Moreover, as discussed in greater detail below, Petitioner's counsel did
  in fact join in a motion filed by counsel for one of the co-defendants to
  have all of Mr. Black's testimony stricken based on its unreliability.
  Trial Tr.        1013-14,   ECF No.       206.


                                                       13
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 14 of 21 PageID# 3810



  demonstrate       that   a    motion     to     strike        Mr.    Black's        or     Mr.    Todd's

  testimony stood a reasonable                    likelihood of                success.        Notably,

  Petitioner's       Rule       29    motion       as      to     Count         24,    made        at     the

  conclusion of the trial evidence,                        argued that such Count should

  be   dismissed     due       to    Mr.   Black's         credibility            issues—the            Court

  held that any discrepancies in the testimony were for the jury

  to decide.        A motion seeking to strike Mr.                         Black or Mr.             Todd's

  testimony would almost certainly have met a similar fate as the

  Rule    29     motion.        Petitioner         therefore              fails       to    demonstrate


  either    that    his    lawyer was           constitutionally deficient                         or    that

  any deficiencies          in counsel's          representation had a                       "reasonable

  probability"        of       impacting        the        result         of    the        proceedings.

  Petitioner's second claim is DENIED.


                C. Ineffective Assistance - Failure to Challenge
                         Adequacy of Trial and Verdict

          Petitioner's third and final ground for relief is not fully

  developed in his          initial        filings,        although some              limited detail

  is     arguably    provided         in    his       reply       brief.              Such    claim        is

  construed by the Court as                alleging that counsel was ineffective

  for:    (a)    failing to pursue dismissal of                       Petitioner's charges or

  seek a new trial             (b)    refusing        to    file      a   complaint          and demand

  inquiry into the          alleged misconduct               of       the prosecutor;              and    (c)

  failing to file a motion for a mistrial and/or seeking to recall




                                                  14
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 15 of 21 PageID# 3811



  Mr.    Black      to    testify about          an out-of-court                statement       that      Mr.

  Black purportedly made during the course of the trial.7

         As    to     Petitioner's             assertion       that      his     lawyer        failed      to

  pursue dismissal of                  Petitioner's         charges       or    seek a new trial,

  such     claim         is     factually        inaccurate           because         counsel        sought

  dismissal of all charges at the close of the evidence and filed

  a post-trial motion after the jury's verdict seeking "judgments

  of acquittal" and/or a "new trial."                           ECF No. 182.            This argument

  is therefore denied.


         As    to     Petitioner's         assertion           that      his     lawyer      refused       to

  file    a    formal         complaint        against       the    prosecutor,           for    all      the

  reasons discussed above,                 there is plainly insufficient evidence

  to    demonstrate           prosecutorial           misconduct         that    would warrant            the

  filing      of      such      a    complaint.          The    record          not    only     fails      to

  demonstrate            that          witnesses        provided           intentionally              false

  testimony,          but      arguably        does    not     even      prove        that     inaccurate

  material statements were made by Mr.                             Black or Mr.          Todd,       as   the

  precise date and time of Mr.                        Black's trip to Washington D.C.                      is

  unknown,         and        Mr.     Todd's     testimony          is     subject        to     multiple

  interpretations.                  Such argument is therefore denied.



  7 The       Court      analyzes       such    largely      undeveloped          claims       out   of    an
  abundance of caution, though such claims could likely be dismissed on
  their face.   See United States v. Dyess, 730 F.3d 354, 359 (4th Cir.
  2013)  ("[V]ague and conclusory allegations contained in a § 2255
  petition may be disposed of without further investigation by the
  District Court.") {internal quotation marks and citation omitted).

                                                       15
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 16 of 21 PageID# 3812




         As to Petitioner's assertion that his lawyer failed to move

  for a mistrial,            such claim appears to be based on the issue that

  arose at trial regarding Mr. Black's purported statement on the

  courthouse          steps    to    an     attorney      for    one     of     the   co-defendants

  that        was     tried     alongside           Petitioner.               According         to       the

  attorney's representations to the Court,                              Mr.    Black stated that

  the    attorney        should       "Tell       Sammy     they      forced      me,"     presumably

  making reference             to Mr.        Black's      testimony against co-defendant

  Samuel Lloyd.           Trial Tr. 847, ECF No. 206.                       Mr. Black was later

  questioned,         outside        the    presence      of    the     jury,     and    he     admitted

  talking       to the co-defendant's                lawyer while             waiting      in   line       to

  enter       the     courthouse,          but    denied       making       any   statement          about

  being forced to do anything.                      Id. at 1005-08.

          A    review of       the    trial      transcript        reveals        that counsel            for

  one    of     Petitioner's          co-defendants            made     a     motion       seeking         to

  preclude Mr.          Black from testifying further in the case and also

  moving       that    his    entire        trial    testimony be           stricken due            to    its

  unreliability.              Id.    at    1013-14.        Notably,         Petitioner's         counsel

  joined in such motion,                   id.   at 1014,      and the Court reserved such

  issue       for   later resolution.               The next day of               trial,      the    Court

  was informed that the parties had worked out a stipulation to be

  read to       the    jury,    which stated as             follows:          "Yesterday morning,

  Clive Black stated the following to court personnel:                                     'Tell Sammy

  that    they forced me             to do       it.'"     Trial      Tr.     1159,     ECF No.          207.

                                                     16
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 17 of 21 PageID# 3813



  Although      such        stipulation         left        unresolved        the     question          of

  whether     Mr.     Black      had     made    a     false     denial       under       oath       while

  outside of the jury's presence, it provided additional evidence

  which,     depending on how it                is interpreted,           could be viewed as

  undercutting Mr. Black's credibility.                          See Fuller,          498 F. App'x

  at    332     (concluding,             in      the         opinion     jointly           addressing

  Petitioner's        and     his      two     co-defendants'           direct        appeal,         that

  "[t]he     stipulation was             a   reasonable         solution that             allowed      the

  defendants to further impeach Black's testimony," and that after

  the stipulation was reached,                   there was "no error" by this Court

  in failing to declare a mistrial, sua sponte).

        In     line     with       the       Fourth        Circuit's     analysis          on    direct

  appeal,      Petitioner's            counsel's            decision      to        agree       to     the

  stipulation         was    a     reasonable          strategic        decision          because       it

  provided      additional          evidence          that      could     be        interpreted         as

  further      impeaching        Mr.     Black's           testimony.         Id.         Had   defense

  counsel opted to recall Black as a witness so that counsel could

  have inquired into his alleged "false denial" of such statement,

  the   jury    might       have    believed          that     Mr.    Black    never        made      such

  statement,        and that he had been misheard because of his Jamaican

  accent.        Even       worse      for      the        defense,     the    jury       could       have

  concluded that the lawyer representing Petitioner's co-defendant

  was   willing        to     fabricate          evidence        to     help        his    client,       a

  conclusion that could bolster the Government's case against all

                                                      17
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 18 of 21 PageID# 3814




  three       co-defendants.               The       soundness           of    counsel's        strategic

  decision to forgo such risks and rely on the stipulation are not

  in any way undercut by Petitioner's conclusory statements in his

  reply brief.           See United States v. Dehlinger,                             740 F.3d 315, 325

  (4th Cir.       2014)       ("The     Sixth Amendment does not provide a basis

  for disappointed clients to launch after-the-fact attacks on the

  objectively           reasonable         strategic               decisions          of     their    trial

  attorneys.");          Strickland,             466        U.S.    at        689     (explaining         that

  because it          is all      too     easy to           challenge an act,                omission,      or

  strategy, once it has proven unsuccessful,                                   "every effort [must]

  be    made     to    eliminate        the      distorting          effects          of    hindsight,      to

  reconstruct          the    circumstances            of     counsel's         challenged        conduct,

  and    to    evaluate       the     conduct        from counsel's                 perspective      at    the

  time.").            Likewise,       even      if    counsel        should         have     recalled      Mr.

  Black,      Petitioner fails to demonstrate that doing so would have

  had     a    reasonable       probability            of     changing          the    outcome       of    the

  case.



          This     Court's       conclusion            is    no     different          with    respect      to

  counsel's           decision      not       to     pursue         a     mistrial,           particularly

  because this case did not involve a prejudicial                                          "event" whereby

  the    jury saw or heard something that                               tainted the          integrity of

  the     trial.         Rather,          the      issue      about       what        occurred       on    the

  courthouse          steps   was     addressed outside                  of    the    jury's presence,

  and did not           impact      the    fairness          of    the    trial process.             At    the

                                                       18
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 19 of 21 PageID# 3815




  time the courthouse steps issue arose, Petitioner's counsel had

  already     secured     trial        testimony      that,          depending          on     its

  interpretation,      called the reliability of Mr.                       Black's and Mr.

  Todd's      testimony         into       question.                 Such       testimonial

  "inconsistencies"      may     have    been     less     pronounced         at    a    second

  trial,    putting Petitioner in a worse position.                            Accordingly,

  counsel's decision to proceed to verdict with not only testimony

  that created credibility questions, but also a stipulation that

  arguably     further     undercut        Mr.     Black's          credibility          was     a

  reasonable    strategic       decision     in    light       of    the     circumstances.

  See United States v.          Chapman,    593    F.3d 365,         368    (4th Cir.        2010)

  (indicating that moving for a mistrial is inherently a strategic

  decision    and    involves     consideration           of   "numerous        alternative

  strategies such as       remaining silent,              interposing an objection,

  requesting a curative instruction,                or requesting an end to the

  proceeding"       (internal    quotation        marks    and      citation       omitted));

  Goins v. Angelone,      52 F. Supp. 2d 638, 663 (E.D. Va. 1999)                            ("The

  Strickland    standard       mandates     considerable            deference       to       trial


  counsel's    strategic    choices,       whether        or   not    those    choices         are

  ultimately successful.").

        For the above-stated reasons,               all subparts of            Petitioner's

  largely undeveloped third ground for relief are hereby DENIED.




                                            19
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 20 of 21 PageID# 3816



                                                 IV.   CONCLUSION


         In   sum,        all     of       the    claims       contained       within       Petitioner's

  § 2255      motion,        filed          in     piecemeal       fashion       on    two     different

  dates,      lack    merit.               Petitioner's         motion     is       therefore       DENIED.

  ECF NOS.     3 03   &   3 04.


         Finding that Petitioner has not made a "substantial showing

  of   the    denial         of      a     constitutional          right"       as    to    any     of   his

  claims, a certificate of appealability as to Petitioner's § 2255

  motion is         DENIED.           28    U.S.C.       § 2253(c)(2);          see    R.   Governing      §

  2255     Proceedings               in     U.S.       Dist.     Cts.     11(a);           Miller-El      v.

  Cockrell,     537 U.S.           322,     336-38       (2003).

         Petitioner             is        ADVISED       that     because        a     certificate         of


  appealability is denied by this Court, he may seek a certificate

  from the United States Court of Appeals for the Fourth Circuit.

  R.   Gov.     §     2255        Proceedings           for    U.S.     Dist.       Cts.    11(a).        If

  Petitioner intends                 to    seek a       certificate       of    appealability from

  the Court of Appeals,                    he must forward a written notice of appeal

  to the Clerk of               the United States District Court,                          United States

  Courthouse,         600    Granby Street,               Norfolk,      Virginia,          23510,    within

  sixty (60) days from the date of this Order.

         The Clerk is DIRECTED to forward a copy of this Opinion and

  Order to Petitioner,                    Petitioner's former counsel,                 and the United

  States Attorney's Office in Norfolk, Virginia.




                                                         20
Case 2:11-cr-00036-MSD-FBS Document 329 Filed 05/27/15 Page 21 of 21 PageID# 3817




        IT   IS   SO   ORDERED,




                                                                TfS&r-
                                                              /S/
                                                       Mark    S.   Davis
                                             UNITED STATES DISTRICT JUDGE
  Norfolk, Virginia
  May SI*] , 2015




                                       21
